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                         Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 1 of 20



           UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF NEW YORK
           -------------------------------------x
           ALEXANDER J. CASTALDI, et al.,
                   Plaintiffs,

                           -v-
                                                                        14-cv-5435 (JSR)
           RIVER AVENUE CONTRACTING CORP., RNC
           INDUSTRIES LLC, EXTREME CONCRETE                               MEMORANDUM
           CORP., RICHARD J. TONYES, SR., and
           SONIA TONYES,

                   Defendants.
           -------------------------------------x
           JED S. RAKOFF, U.S.D.J.

                   Plaintiffs bring this action under the Employee Retirement and

           Income Security Act ("ERISA"), 29 U.S.C.             §§   1001, et seq., and under

           Section 301 of the Labor Management Relations Act ("LMRA"), 29

           U.S.C.    §    185 on behalf of employee benefit funds of which they serve

           as trustees (collectively, the "Plaintiff Funds") . 1 Defendants are

           three entities engaged in the concrete construction business, namely

           River Avenue Contracting Corp.           ("River"), Extreme Concrete Corp.

               ("Extreme") and RNC Industries, LLC ("RNC"), and their joint owners,

           husband and wife Richard Tonyes, Sr.            ("Tonyes, Sr.") and Sonia



           1 Specifically, Plaintiffs are trustees of two groups of funds: (1)
           the "Cement Workers' Funds," comprising the Cement and Concrete
           Workers Pension Trust Fund, Cement and Concrete Workers Welfare
           Trust Fund, Cement and Concrete Workers Annuity Trust Fund, Cement
           and Concrete Workers Scholarship Trust Fund, and Cement and Concrete
           Workers Training and Education Trust Fund; and (2) the "Cement
           Masons' Funds," comprising the Cement Masons' Local 780 Trust Fund,
           Cement Masons' Local 780 Pension Fund, Cement Masons' Local 780
           Annuity Fund, Cement Masons' Local 780 Vacation Fund, and Cement
           Masons' Local 780 Apprenticeship Fund.
                                                       1
        Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 2 of 20



Tonyes. Plaintiffs seek to recover unpaid contributions to the

Plaintiff Funds, which they contend defendants were required to make

under the applicable collective bargaining agreements.

     By way of background, Plaintiffs allege that, from about August

2003 until March 2, 2011, River was a member of the Association of

Concrete Contractors of New York, Inc.            (the "Association"), which

served as its collective bargaining agent. See Complaint dated July

18, 2014, Castaldi v. River Ave. Contracting Corp., No. 14-cv-5435

("Castaldi Compl.")       ~~    12-13; Complaint dated Oct. 31, 2014,

Castignoli v. River Ave. Contracting Corp., No. 14-cv-8699

("Castignoli Compl.")          ~~   12-13. 2 As such, River was bound by the

Association's collective bargaining agreements with the Cement and

Concrete Workers District Council (the "Cement Workers' Agreement")

and the Cement and Masons Local 780 (the "Cement Masons' Agreement")

(collectively, the "Association Agreements"). Castaldi Compl.              ~   14;

Castignoli Compl.     ~   14. Each Association Agreement required River to

contribute stated amounts to the Plaintiff Funds for each hour of

covered work performed within their respective jurisdictions.

Castaldi Compl.   ~   15; Castignoli Compl.        ~   15. Furthermore, both of

the Association Agreements expressly applied not just to River, but

also to River's principals and to any other enterprise conducting

substantially identical business under River's ownership,



2 The Castaldi and Castignoli actions were consolidated under the
above caption by Stipulation and Order dated Dec. 9, 2014. See ECF
No. 33.
                                             2
              Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 3 of 20



management, or control. Castaldi Compl. ~ 17; Castignoli Compl. ~

17.

      According to Plaintiffs, defendants sought to evade their

contribution obligations by submitting reports to the Plaintiff

Funds that purported to identify the hours of covered work performed

by River employees, while omitting any reference to covered work

performed by employees of Extreme and RNC. Castaldi Compl.                ~~   18-19;

Castignoli Compl.        ~~   18-19. In fact, Plaintiffs contend, River,

Extreme and RNC operated as alter egos of one another, performing

the same work, under the same management, from the same offices,

with the same employees, customers, and vendors, without observing

any corporate formalities, and under the complete domination of the

Tonyes defendants. Castaldi Compl. ~~ 23-53; Castignoli Compl. ~~

25-55.

      On the basis of the foregoing allegations, Plaintiffs assert

five claims:        (I) breach of the Association Agreements in violation

of Sections 502 and 515 of ERISA, 29 U.S.C. §§ 1132, 1145 (against

River);       (II) breach of the Association Agreements in violation of

Sections 502 and 515 of ERISA, 29 U.S.C. §§ 1132, 1145 (against RNC,

as alter ego of River) ;         (III) breach of the Association Agreements

in violation of Sections 502 and 515 of ERISA, 29 U.S.C. §§ 1132,

1145 (against Extreme, as alter ego of River);              (IV) breach of the

Association Agreements in violation of Section 301 of the LMRA, 29

U.S.C.    §    185 (against River, RNC, and Extreme); and (V) common law



                                            3
            Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 4 of 20



fraud under ERISA (against RNC, Extreme, Tonyes, Sr., and Sonia

Tonyes) .

        Following discovery, Plaintiffs moved for partial summary

judgment on four issues:        (1) that River, Extreme, and RNC are alter

egos;    (2) that Tonyes, Sr. and Sonia Tonyes are individually liable

to the Plaintiff Funds;        (3) that the Order of Discontinuance and

Stipulation of Settlement dated April 2, 2010 between the Cement

Workers' Funds, River, Extreme, and two other Tonyes-affiliated

entities (the "Settlement Agreement") does not bar any of

Plaintiffs' claims; and (4) that the statute of limitations does not

bar Plaintiffs' claims for damages accruing before June 18, 2008. By

Order dated May 29, 2015, the Court granted Plaintiffs' motion with

respect to alter ego status, individual liability, and the effect of

the Settlement Agreement, but denied it with respect to the statute

of limitations. This Memorandum sets forth the reasons for those

rulings.

        Pursuant to Rule 56(a), Fed. R. Civ. P., the movant is entitled

to summary judgment only if it demonstrates that "there is no

genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law." The movant bears the initial burden

of "identifying those portions of 'the pleadings, depositions,

answers to interrogatories, and admissions on file,             together with

the affidavits, if any,' which it believes demonstrate the absence

of a genuine issue of material fact." Celotex Corp. v. Catrett, 477

U.S. 317, 323      (1986). The burden then shifts to the non-moving party
                                          4
        Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 5 of 20



to "come forward with evidence that would be sufficient to support a

jury verdict in its favor." Burt Rigid Box, Inc. v. Travelers Prop.

Cas. Corp., 302 F.3d 83, 91 (2d Cir. 2002).       "Mere conclusory

allegations or denials will not suffice." Williams v. Smith, 781

F.2d 319, 323   (2d Cir. 1986). The motion will be granted only if,

drawing all reasonable inferences in favor of the non-moving party,

the court concludes that no reasonable trier of fact could find in

that party's favor. H.L. Hayden Co. of New York v. Siemens Med.

Sys., Inc., 879 F.2d 1005, 1011 (2d Cir. 1989).

     The first issue on which Plaintiffs seek summary judgment is a

finding that River, RNC, and Extreme are alter egos. In the ERISA

context, alter ego doctrine provides "an analytical hook to bind a

non-signatory to a collective bargaining agreement." Truck Drivers

Local Union No. 807, I.B.T. v. Reg'l Imp. & Exp. Trucking Co., 944

F.2d 1037, 1046 (2d Cir. 1991). In other words,        "[d]etermining that

an entity is an alter ego 'signifies that, for all relevant

purposes, the non-signatory is legally equivalent to the signatory

and is itself a party to the [collective bargaining agreement].'"

Ret. Plan of UNITE HERE Nat. Ret. Fund v. Kombassan Holding A.S.,

629 F.3d 282, 288 (2d Cir. 2010)      (citation omitted). The purpose of

the alter ego doctrine in this context is to prevent an employer

from evading its obligations under a collective bargaining agreement

"through a sham transaction or technical change in operations."

Truck Drivers, 944 F.2d at 1046. To that end,        "courts observe 'a



                                      5
        Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 6 of 20



general federal policy of piercing the corporate veil when

necessary.'" Kombassan, 629 F.3d at 288.

     The test for determining whether two companies are alter egos

for ERISA purposes is "flexible" and involves "weigh[ing] the

circumstances of the individual case." Goodman Piping Prods., Inc.

v. NLRB, 741 F.2d 10, 11 (2d Cir.1984). The "hallmarks of the alter

ego doctrine include 'whether the two enterprises have substantially

identical management, business purpose, operation, equipment,

customers, supervision, and ownership.'" Lihli Fashions Corp. v.

N.L.R.B., 80 F.3d 743, 748 (2d Cir. 1996)            (citation omitted). For

example, summary judgment of alter ego status is appropriate where

the undisputed facts show that two entities have "identical

management, supervision, and ownership," "engage in substantially

the same type of work," "lease[] identical office space ... and use[]

many of the same business institutions," and one company "actually

took over contracts originally awarded" to the other. Bricklayers &

Allied Craftworkers Local 2 v. C.G. Yantch, Inc., 316 F. Supp. 2d

130, 144 (N.D.N.Y. 2003); see also Plumbers, Pipefitters &

Apprentices Local Union No. 112 Pension, Health & Educ. &

Apprenticeship Plans ex rel. Fish v. Mauro's Plumbing, Heating &

Fire Suppression, Inc., 84 F. Supp. 2d 344, 351 (N.D.N.Y. 2000)

(granting summary judgment of alter ego status); Bourgal v. Robco

Contracting Enterprises, Ltd., 969 F. Supp. 854, 863            (E.D.N.Y. 1997)

aff'd, 182 F.3d 898   (2d Cir. 1999)       (same).



                                       6
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               Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 7 of 20



            In support of their motion, Plaintiffs have submitted

     overwhelming and largely uncontroverted evidence that River,

     Extreme, and RNC operated during the relevant period as alter egos.

            First, the three companies operated under identical management. 3

     All three entities were managed by RAC Management Corp.            ("RAC

     Management"), a company of which Tonyes, Sr. was the president and

     sole owner. See Declaration of Susan Jennik dated Feb. 20, 2015

      ("Jennik Deel.") Ex. 17, at 21-25. RAC Management performed numerous

      functions on behalf of all three entities, including bookkeeping,

     payroll, accounts payable and receivable, tax preparation,

     estimating projects, preparing bids, negotiating contracts,

     obtaining insurance, and personnel administration. See Plaintiffs'

     Local Civil Rule 56.1 Statement of Undisputed Facts ("Pl. Rule

      56.1")   ~~   61-68, 73, 104, 108. There were no written agreements

     describing the services that RAC Management provided to River,

     Extreme, and RNC, nor was there any formula for determining the fees

      that RNC Management would charge, at least with respect to RNC. Id.

      ~~   77-79; Jennik Deel. Ex. 3, at 21.

            Moreover, in performing these services, RAC Management failed

     to treat River, RNC, and Extreme as separate entities. For example,

     it assigned project numbers to the concrete construction jobs


     3
       The following facts are either undisputed, or (which amounts to the
     same) have been only conclusorily denied by defendants, in violation
     of Local Civil Rule 56.1. See U.S. Info. Sys., Inc. v. Int'l Bhd. of
     Elec. Workers Local Union No. 3, No. OO-cv-4763, 2006 WL 2136249, at
     *3 (S.D.N.Y. Aug. 1, 2006) (striking portions of opposition to Rule
     56.1 Statement that failed to meet requirements of Local Rule 56.1).
                                             7
         Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 8 of 20



performed by the three companies in the order the jobs were

obtained, regardless of whether the project was a River, RNC, or

Extreme job. Pl. Rule 56.1     ~    67. It also maintained a single

integrated payroll, which identified each employee as being

affiliated with River, RNC, or Extreme for a given week through a

system of color coding. Id.        ~~   69-71. RAC Management further

maintained a combined roster of monthly bills for the three

companies, a common list of bank check order dates, common tax

liability worksheets (prepared by a shared set of accountants), and

a common list of vendors with tax exempt status. Id. ~~ 87-90.

      Second, Tonyes, Sr. dominated all three entities. All three are

located on premises that are wholly owned, either directly or

indirectly, by Tonyes, Sr. and Sonia Tonyes. Id.            ~~   5, 7, 85-86.

There is no dispute that Tonyes, Sr. owned and controlled River. Id.

~   8. As to Extreme, although Sonia Tonyes was the nominal owner and

sole employee, id.    ~~   57, 167, she testified that "I was the owner

on paper, but he was the owner - he did the work." Pl. Rule 56.1                ~

57. Indeed, in 2012, Tonyes, Sr. admitted under oath to being the

"owner and operator of Extreme" in connection with his plea of

guilty to a criminal tax evasion charge in the Eastern District of

New York. Id. Ex. 30, at 19. In the same case, Tonyes, Sr.'s

attorney submitted a pre-sentencing letter to the court representing

that Tonyes, Sr. had "organized and founded,            from the ground up,"

various companies, including Extreme. Id.          ~   58. Furthermore, the

undisputed evidence showed that Tonyes, Sr. negotiated and signed
                                           8
          Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 9 of 20



contracts on Extreme's behalf, a fact that further indicates that he

was its true owner and operator. Id. ~ 107. 4

     As to RNC,      the evidence likewise showed that Tonyes,        Sr. was

the real party in interest. RNC was nominally co-owned by the

Tonyes' son, Richard Tonyes, Jr. and a long-time Tonyes confederate,

Robert Dugan, see Jennik Deel. Ex. 24, at 47. However, Tonyes, Sr.

engaged in transactions on behalf of RNC, including preparing bids

and estimating labor hours for jobs, Pl. Rule 56.1           ~~   105-06,

negotiating and signing contracts, id.        ~   114, 210-15, and entering a

lease agreement, id.      ~   110. Furthermore, Tonyes, Sr.'s email

correspondence demonstrates that he had authority to act on RNC's

behalf in its dealings with customers, vendors, and other third

parties, id.    ~~   45, and to make personnel decisions affecting RNC

employees, such as approving vacation pay and pay increases, id. ~~

146-53.

     Third, the three entities utterly failed to observe even the

barest of corporate formalities. River and Extreme, which were

organized as corporations, never issued any shares of stock, never

held a shareholders' meeting, and never elected a Board of Directors

or held any Directors' meetings of any sort.          Id.~   48. RNC, which was

organized as a limited liability company, had no operating agreement

and there were no records of any meetings of its members.             Id.~   49.


4The Court, with some dismay, notes that these statements directly
contradict sworn statements that Tonyes, Sr. made in previous cases
before this Court, in which he represented that he did not own
Extreme. Id. ~~ 53-54; Jennik Deel. Ex. 17, at 22 & Ex. 28.
                                         9
          Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 10 of 20



Moreover, all three entities regularly transferred large sums of

money to other Tonyes-owned entities and to Sonia Tonyes

individually with zero or only minimal documentation.                 Id.   ~~   ll6-l8,


154-73.

     Finally, River, RNC, and Extreme engaged in the same work, for

the same customers, using the same equipment, vendors, and

suppliers, performed by many of the same employees. Specifically, as

to the three entities' common work and customers, Plaintiffs'

evidence demonstrated that: River and RNC described their business

purpose in nearly identical terms in letters sent to potential

customers, id. ~~ 95-96; River and RNC at times each claimed to have

worked on the same jobs, referred to as The Arbor,           "540w28+art,"

Casa de la Luna y de la Estrella, and St. Ann's Terrace, id.                     ~~   98-

99; Extreme and RNC had at least one long-time customer in common,

Joy Construction, id. ~ 97; on at least one occasion, Extreme

assigned a subcontract to RNC without consideration (so far as

Dugan, RNC's nominal co-owner, could recall), id.           ~~    81-82; on

another occasion, River obtained a contract for a construction

project, but RNC actually performed the work, obtained the

insurance, sent invoices, and received payment, id.              ~~    207-09.

     Regarding common equipment, vendors, and the like, the evidence

showed that there were at least eleven vendors and suppliers used by

all three companies, id.      ~   91, and that RNC and River both lease

equipment from Specialty Trucking and Equipment, Inc., an entity

owned by the Tonyes defendants' son and daughter, but which Tonyes,
                                        10
       Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 11 of 20



Sr. "helps" to manage, see Jennik Deel. Ex. 3, at 27-28. As to the

overlapping employees, Plaintiffs' evidence demonstrated: that at

least eight employees were at various times identified as employees

of River, Extreme, and/or RNC, see Pl. Rule 56.1 ~~ 184-205; that

RAC Management kept a common list of shop employees, each of whom

was listed as affiliated with one of the three entities, but who

were nonetheless all supervised by the same individual, id. ~~ 93-

94; that at times, River provided employees to drive trucks on RNC

jobs, id.   ~   75; and that fifteen employees of RAC Management also

had email addresses from both RNC and River, id.        ~   74. In short,

plaintiffs' showing is more than sufficient to shift the burden to

defendants to demonstrate the existence of a triable issue.

     Defendants do not contest that Extreme was an alter ego of

River, nor do they direct the Court to any evidence showing that it

is not. With respect to RNC, they argue that the deposition

testimony of Richard Tonyes, Jr. and Robert Dugan raises a triable

issue of fact. Specifically, Tonyes, Jr. and Dugan claimed at

deposition that they jointly own and control RNC. Dugan, for his

part, testified that he is a 50% owner of RNC and that: "I run

[RNC]. I run day-to-day operations, supervise everybody, and, you

know, I control the field operations in the whole company."

Declaration of Christopher Smith dated Apr. 3, 2015 ("Smith Deel.")

Ex. B at 30, 45. Similarly, Tonyes, Jr. testified that he co-owned

RNC and that: "I ran all field operations." Id. Ex. G.



                                     11
       Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 12 of 20



    However, these assertions, even if credited, would be an

insufficient basis for a reasonable factf inder to conclude that RNC

is a separate entity and not an alter ego of River. Even         i~   i t were

true that Tonyes, Jr. and Dugan ran RNC's "field operations," that

fact is not inconsistent with plaintiffs' copious evidence that RNC

and River operated under identical management, performed the same

work, and used the same vendors, suppliers, equipment and employees.

Nor is Tonyes, Jr.'s claim that he owns RNC availing. Where, as

here, there are numerous indicia of alter ego status, close family

connections between companies can satisfy the "continuity of

ownership" factor. See Mason Tenders Dist. Council Welfare Fund v.

ITRI Brick & Concrete Corp., No. 96-cv-6754, 1997 WL 678164, at *14

(S.D.N.Y. Oct. 31, 1997). Accordingly, the Court has no difficulty

in concluding that Plaintiffs are entitled to judgment as a matter

of law that River, RNC, and Extreme are alter egos, and that all

three are bound by the Association Agreements.

     The second issue on which Plaintiffs seek summary judgment is

the individual liability of Tonyes, Sr. and Sonia Tonyes. As a

general proposition,    "an individual is not liable for corporate

ERISA obligations solely by virtue of his role as officer,

shareholder, or manager." Sasso v. Cervoni, 985 F.2d 49, 50 (2d Cir.

1993). Nonetheless,    "at least to the extent that a controlling

corporate official defrauds or conspires to defraud a benefit fund

of required contributions, the official is individually liable under

Section 502 of ERISA, 29 U.S.C.    §   1132, just as he would be liable
                                       12
       Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 13 of 20



for unpaid minimum wages under FLSA, even if the traditional

conditions for piercing the corporate veil are not met." Leddy v.

Standard Drywall, Inc., 875 F.2d 383, 388 (2d Cir. 1989). Thus,

Plaintiffs must show, first,    that the Tonyes defendants were

"controlling corporate officials," and second, that they "defrauded

or conspired to defraud" the Plaintiff Funds. See Cement & Concrete

Workers Dist. Council Welfare Fund, Pension Fund, Legal Servs. Fund

& Annuity Fund v. Lollo, 35 F.3d 29, 33 (2d Cir. 1994), as amended

(Sept. 9, 1994).

     Plaintiffs' evidence amply meets this standard. First, both

Tonyes, Sr. and Sonia Tonyes are "controlling corporate officials"

of the three alter ego companies. As discussed above, Tonyes, Sr.

completely dominated River, RNC, and Extreme, both controlling their

operations and acting on their behalf vis-a-vis third parties. See

Trustees of Bldg. Serv. 32B-J Pension, Health & Annuity Funds v.

Hudson Serv. Corp., 871 F. Supp. 631, 638 (S.D.N.Y. 1994)          (finding

individual to be "controlling corporate official" on ground that he

"exercised complete control over" company "as its president and sole

shareholder"). Sonia Tonyes, for her part, was nominal owner of one

of the companies and played a dominant role in managing all the

companies through RAC Management. Most importantly, she was

responsible for the companies' ERISA reporting, id.        ~   32, and on

numerous occasions personally signed the fraudulent remittance

reports that were sent to the Funds, id.      ~   33. Moreover, she

received numerous transfers of funds from the Tonyes-controlled
                                     13
         Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 14 of 20



entities, for which she could offer no legitimate explanation.

Jennik Deel. Ex. 3, at 124-131. Her direct role in the companies'

fraud weighs heavily in favor of finding her personally liable. see

New York City Dist. Council of Carpenters Pension Fund v. Quantum

Const., No. 06-cv-13150, 2008 WL 5159777, at *7 (S.D.N.Y. Dec. 9,

2008).

     Second, Plaintiffs have amply demonstrated that the Tonyes

defendants "defraud[ed] or conspire[d] to defraud" the Plaintiff

Funds. The remittance reports that defendants submitted to the

Plaintiff Funds systematically omitted hours worked by employees of

RNC and Extreme.    Id.~~   29-31, 39; Jennik Deel. Exs. 16, 19; see also

Bourgal, 969 F. Supp. at 864 (granting summary judgment of

individual liability where corporate officer "knowingly

underreported hours worked by employees in covered employment in

order to avoid paying the contractually required benefits

contributions"). There is no merit to defendants' argument that they

were not required to report work performed by entities other than

River itself. To the contrary, the Association Agreements, by their

own terms, unambiguously applied to affiliated entities such as RNC

and Extreme.s


5 The Concrete Workers' Agreement provides that it applies to work
performed by the employer:

     under its own name or under the name of another, as a
     corporation, company, partnership, or any other business
     entity, including joint venture or sole proprietorship, and
     the   two   (2)   enterprises   have substantially  identical
     management,     business    purpose,  operation,   equipment,
                                    14
            Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 15 of 20



      Moreover, Plaintiffs produced a "smoking gun" demonstrating

defendants' fraudulent intent. Specifically, many of the remittance

reports bear the signature "S. Smith." Defendants now aamit:,

however, that no one by that name ever worked at River, RAC

Management, RNC, or Extreme. Pl. Rule 56.1            ~~   36-38, 42-44, 46.

Defendants' use of a false name strongly indicates that they

intended to defraud the Plaintiff Funds. In addition, as discussed

above, Tonyes, Sr.'s attempt to obscure his role in Extreme in prior

sworn testimony before this Court, which he has since contradicted

in other sworn statements, further evidences his fraudulent intent.

See supra note 4.

          Defendants respond that the Plaintiff Funds could not have

reasonably relied on the remittance reports because they knew or

should have known that they were false. Specifically, they argue

that plaintiffs were on notice that the reports did not necessarily




          customers, supervision and/or ownership, wherein the employer
          exercises either directly or indirectly any significant
          degree of ownership management or control...

Pl. Rule 56.1      ~   24. The Concrete Masons' Agreement provides:

          If an Employer covered by this Agreement or any such owner
          or principal forms or acquires by purchase, merger or
          otherwise,  an interest,    whether by ownership,     stock,
          equitable or managerial, in another company, corporation,
          partnership or joint venture, performing bargaining unit
          work within this jurisdiction, this Agreement shall cover
          such other operation and such other bargaining unit
          Employees shall be considered an accretion to the bargaining
          unit River Reports to the Cement Worker Funds.

Id.   ~    28.
                                          15
         Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 16 of 20



account for work performed by Extreme and RNC. This argument stems

from a previous lawsuit filed in 2007 by the Cement Workers' Funds

against River Avenue, seeking to recover delinquent contributions

that they claimed were due to the Funds based on a payroll audit.

See Cement and Concrete Workers District Council Welfare Fund v.

River Avenue Contracting Corp., No. CV-07-2290 (E.D.N.Y.). On

January 18, 2008, in connection with settlement negotiations in that

action, the Funds' then-counsel, Joseph Kaming, sent a letter to

counsel for River Avenue. In that letter, Kaming stated: "If [the

settlement of fer is] not accepted, we will have to audit all books

of all companies and this matter can not be resolved." Ambroise

Deel. Ex. 1, at CCW007260. Defendants interpret Kaming's reference

to "all books of all companies" to indicate that he was aware of the

existence of companies affiliated with River. This vague and passing

reference, however, does not remotely support the conclusion that

plaintiffs were aware of RNC and Extreme's existence, let alone of

the falsity of the remittance reports, and therefore fails to raise

a triable issue of fact regarding defendants' fraudulent intent.

     Accordingly, the Court finds that Tonyes, Sr. and Sonia Tonyes

are individually liable for any amounts owing to the Plaintiff

Funds.

     The third issue as to which Plaintiffs seek summary judgment is

the effect of the Settlement Agreement. This issue arises from

another previous litigation between some of the parties to this

suit. In 2009, the Cement Workers' Funds filed a separate lawsuit
                                       16
       Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 17 of 20



against River, Extreme, RAC Management, and another Tonyes-

affiliated entity, RAC Realty, seeking to recover unpaid

contributions. See Cement and Concrete Workers District council

Welfare Fund v. River Avenue Contracting Corp., No. CV-09-715

(E.D.N.Y.). On April 2, 2010, the parties to that action filed the

Settlement Agreement, pursuant to which River agreed to pay $33,750

for the audit period from the "beginning of time" through December

31, 2008. The Settlement Agreement provided that:


     It is understood and agreed by the Funds and River Avenue
     Contracting Corp. as well as so designated in the caption
     Affiliated entities known as Extreme Concrete Corp., RAC
     Realty and RAC Management that the settlement amount herein
     represents payment of all amounts owed by River Avenue
     Contracting Corp. as well as so designated in the caption
     Affiliated entities known as Extreme Concrete Corp., RAC
     Realty and RAC Management to the Funds for the periods from
     the beginning of time through December 31, 2008 under the
     terms of the District Council of Cement and Concrete Workers
     comprised of Local No. 6-A, Local No. 18-A, and Local No.
     20, LIUNA, AFL-CIO agreement and the terms of the trust
     agreements for the Funds. This settlement does not include
     any monies owed or which may be owed for periods after
     December 31, 2008.

Jennik Deel., Ex. 83,   ~   4. Defendants argue that the Settlement

Agreement precludes claims by the Cement Workers' Funds relating to

pre-2009 work performed, not only by Extreme, which was a party to

the Agreement, but also by RNC, which was not.

     The Settlement Agreement, by its express terms, does not

release any claims against RNC. RNC was not a party to the

Settlement Agreement and no claims based on work it performed were

raised in that litigation. Nor could they have been, as defendants

                                     17
          Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 18 of 20



failed to disclose its existence. Representatives of the Plaintiff

Funds testified that they learned of RNC's existence within the past

two and a half years, well after the Settlement Agreement was

entered. See Declaration of Serge Ambroise dated Apr. 17, 2015, Exs.

2, 3. Accordingly, the Settlement Agreement could only bar the

Cement Workers' Funds' pre-2009 claims to the extent they were based

on work performed by River or Extreme. 6 See Gesualdi v. Juda Const.,

Ltd., No. 10-cv-1799, 2011 WL 5075438, at *10 (S.D.N.Y. Oct. 25,

2011)    (finding that settlement did not release claims for

subcontracted work where existence of such claims would not have

been picked up by routine audit). But the Cement Workers' Funds do

not seek damages for any such claims - all of their pre-2009 damages

claims relate to work performed by RNC. See Plaintiffs' Mem. in

Support of Mot. for Summary Judgment dated Feb. 20, 2015, at 33.

Accordingly, the Court granted summary judgment that the Settlement

Agreement does not bar any of the claims asserted in this action.

        The final issue concerns the statute of limitations. In the

absence of an express statute of limitations under ERISA, the Court

applies the most analogous state statute of limitations, in this

case, breach of contract. See Guilbert v. Gardner, 480 F.3d 140, 149

(2d Cir. 2007)     (citing Union Pac. R. Co. v. Beckham, 138 F.3d 325,

330 (8th Cir. 1998)). Under New York law, a claim for breach of

contract must be brought within six years of the breach. N.Y.


6 It goes without saying that the Settlement Agreement does not bind
the Cement Masons' Funds, who were not parties to the 2009 lawsuit.
                                  18
          Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 19 of 20



C.P.L.R. 213(2). Defendants argue that any claim for damages

accruing before June 18, 2008 -         six years before the Complaint was

filed -    is time-barred.

     Plaintiffs argue that they should be permitted to recover for

the period before June 18, 2008 under the doctrine of equitable

estoppel. Under that doctrine, the Court may bar the application of

the statute of limitations where the defendant has fraudulently

concealed the existence of the plaintiff's cause of action. See

Abercrombie v. Andrew College, 438 F. Supp. 2d 243, 265 (S.D.N.Y.

2006). This doctrine, however is to be "invoked sparingly and only

under exceptional circumstances." Id.         (citation omitted). The

plaintiff must prove specific "efforts by the defendant -             above and

beyond the wrongdoing upon which the plaintiff's claim is founded

to prevent the plaintiff from suing in time." McAnaney v. Astoria

Fin. Corp., No. 04-cv-1101, 2007 WL 2702348, at *8           (E.D.N.Y. Sept.

12, 2007). In addition, the plaintiff must demonstrate that it

exercised due diligence, meaning "that the action was brought within

a reasonable period of time after the facts giving rise to the

equitable tolling or equitable estoppel claim 'have ceased to be

operational.'" Id.

     Plaintiffs fall short of carrying this burden. They offer

little more than the bare assertion that they were not aware of the

alter ego relationship between River, RNC, and Extreme until March

28, 2014, when this Court issued its summary judgment opinion in the

related case of Moore v. River Avenue Contracting Corp., No. 13-cv-
                                        19
         Case 1:14-cv-05435-JSR Document 53 Filed 06/22/15 Page 20 of 20



4205 (S.D.N.Y.), ECF Dkt. No. 97. Moreover, they fail to proffer

evidence of any affirmative acts, beyond those that form the basis

of their claims,   taken by defendant to prevent them from bringing

suit. To the contrary, the fact that the Concrete Workers' Funds'

sued River and Extreme in 2009 suggests that they, at least, were

aware of the alter ego relationship between those two entities at

that time. Accordingly, with respect to the statute of limitations

issue, the Court determined that triable issues of fact remain.

      For the foregoing reasons, the Court granted plaintiffs'

summary judgment motion with respect to the three entities' alter

ego status, the individual liability of Tonyes, Sr. and Sonia

Tonyes, and the effect of the Settlement Agreement, but denied

plaintiffs' motion with respect to the statute of limitations issue.

Trial on the remaining issues will begin on June 22, 2015 at 9:00

AM.




Dated:     New York, NY
           June ll}, 2 015




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